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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

TRAWICK REDDING, JR.,                   )
                                        )
        Plaintiff,                      )
                                        )
        v.                              )     Case No. 1:15-cv-539-MHT-PWG
                                        )
DALE COUNTY, et al.,                    )
                                        )
        Defendants.                     )

                      REPORT AND RECOMMENDATION

        Plaintiff was incarcerated in the Dale County Jail when he alleges he was

exposed to a Burmese python by two jailer deputies, and he brings this lawsuit

seeking redress for injuries he alleges were caused by that event and subsequent

inadequate medical care caused by Defendants. This matter is before the court on the

following motions: (1) a motion to dismiss for failure to state a claim upon which

relief can be granted filed by Defendant Dale County, Alabama (“the County”) (Doc.

12); and (2) a motion to dismiss filed by Defendants Ron Nelson and Wally Olson

(Doc. 13). The motions are fully briefed and are taken under submission on the record

and without oral argument.

I.      JURISDICTION

        Subject matter jurisdiction is conferred by 28 U.S.C. § 1331 as to Plaintiff’s

federal causes of action, and the court may exercise supplemental jurisdiction over
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Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367. The parties do not contest

personal jurisdiction or venue, and there are adequate allegations to support both. See

28 U.S.C. § 1391. On August 17, 2015, this matter was referred to the undersigned

by U.S. District Judge Myron H. Thompson for disposition or recommendation on all

pretrial matters. (Doc. 9). See also 28 U.S.C. § 636(b); Rule 72, Fed. R. Civ. P.;

United States v. Raddatz, 447 U.S. 667 (1980); Jeffrey S. v. State Board of Education

of State of Georgia, 896 F.2d 507 (11th Cir. 1990).

II.      BACKGROUND AND STATEMENT OF FACTS1

         Plaintiff was an inmate at the Dale County Jail and worked in the jail’s kitchen

as a trustee. (Doc. 1 at ¶ 11). The jail facilities are maintained by Defendant Dale

County. (Doc. 1 at ¶ 4). Dale County Sheriff Wally Olson is responsible for staffing,

supervision, and medical care provided at the jail. (Doc. 1 at ¶ 4, 8). Jailer Ron Nelson

was employed by Olson as the jailer and was the immediate supervisor of jailer

deputies Zeneth Glenn and Ryan Mittelbach (sometimes collectively “the deputies”)

at all times relevant to this action. (Doc. 1 at ¶ 9). On or about August 11, 2013,

Plaintiff observed the deputies in possession of a yellow Burmese python,



         1
       These are the facts for purposes of recommending a ruling on the pending
motions to dismiss; they may not be the actual facts and are not based upon evidence
in the court’s record. They are gleaned exclusively from the allegations in the
Complaint.

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approximately six to seven feet in length. (Doc. 1 at ¶¶ 13-14). Plaintiff told the

deputies that he was afraid of snakes and did not wish to be near the snake. (Doc. 1

at ¶ 15). When Plaintiff finished his duties in the kitchen, he returned to his dorm and

fell asleep in his bunk. (Doc. 1 at ¶ 17). Several hours later, the deputies entered the

Plaintiff’s dorm with the python while Plaintiff was sleeping. (Doc. 1 at ¶ 18). Glenn

placed the python close to Plaintiff’s face, and then screamed, waking Plaintiff from

his sleep. (Doc. 1 at ¶ 19). Realizing the snake was in his bunk, Plaintiff was startled,

screamed, and hit his head on the rail of his bunk. (Doc. 1 at ¶ 20). The deputies’

employment was terminated as a result of this incident. (Doc. 1 at ¶ 21).

      After the incident, Plaintiff “was sent to a medical facility and saw a therapist

at an outside facility where he was prescribed psychiatric medication.” (Doc. 1 at ¶

32). Plaintiff remained incarcerated at the jail for over a year after the incident. (Doc.

1 at ¶ 33). As a result of the incident, Plaintiff “lived in constant fear, and suffered

from depression and post-traumatic stress” and “had trouble sleeping, suffered general

anxiety ... and had nightmares and night terrors on a daily basis.” (Doc. 1 at ¶¶ 33-

34). “The Plaintiff has been treated for injuries including being prescribed sleeping

medications, anti-depression medication and anxiety medicines and being under the

care of mental health professionals and a licensed psychiatrist.” (Doc. 1 at ¶ 37).

However, Plaintiff claims that he “did not receive proper psychiatric care in the Dale


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County Jail after this incident and as a result suffered emotionally and physically. It

is alleged that the Dale County Jail was motivated by saving money and not insisting

that [Plaintiff] receive[] more psychiatric care despite the obvious signs of his anxiety,

fear, sleeplessness and fatigue.” (Doc. 1 at ¶ 38).

      On July 27, 2015, Plaintiff filed a complaint in this court alleging seven counts

against the Defendants:

      I - Violations of Eighth Amendment rights alleging cruel and unusual
      punishment against Defendants Glenn, Mittelbach, Nelson, “unidentified
      deputies,” Olson, and the County. (Doc. 1 at ¶¶ 47-54).

      II - Violations of Eighth Amendment rights alleging “Monell Liability”
      Indifference to Cruel and Unusual Punishment against the County. (Doc.
      1 at ¶¶ 55-63).

      III - Intentional Infliction of Emotional Distress against all Defendants
      under Alabama tort law. (Doc. 1 at ¶¶ 64-72).

      IV - Assault and Battery against all Defendants under Alabama tort law.
      (Doc. 1 at ¶¶ 73-78).

      V - Wantonness against all Defendants under Alabama tort law. (Doc.
      1 at ¶¶ 79-82).

      VI - Outrage against all Defendants under Alabama tort law. (Doc. 1 at
      ¶¶ 83-86).

      VII - Violations of Eighth Amendment rights alleging deliberate
      indifference to psychiatric care against all Defendants. (Doc. 1 at ¶¶ 87-
      91).




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II.      STANDARD OF REVIEW

         A Rule 12(b)(6) motion to dismiss tests the sufficiency of the Complaint against

the legal standard set forth in Rule 8: “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

         When evaluating a motion to dismiss pursuant to Rule 12(b)(6), the court must

take “the factual allegations in the complaint as true and construe them in the light

most favorable to the plaintiff.” Pielage v. McConnell, 516 F.3d 1282, 1284 (11th

Cir. 2008). However, “the tenet that a court must accept as true all of the allegations

contained in a complaint is inapplicable to legal conclusions.” Ashcroft v. Iqbal, 556

U.S. 662, 663 (2009). “[A] plaintiff’s obligation to provide the ‘grounds’ of his

‘entitle[ment] to relief’ requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 555.

         “To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal,

556 U.S. at 678 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

“Determining whether a complaint states a plausible claim for relief [is] ... a

context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Id. at 663 (alteration in original) (citation omitted).

“[F]acial plausibility” exists “when the plaintiff pleads factual content that allows the


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court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citing Twombly, 550 U.S. at 556). The standard also “calls for enough

facts to raise a reasonable expectation that discovery will reveal evidence” of the

claim. Twombly, 550 U.S. at 556. While the complaint need not set out “detailed

factual allegations,” it must provide sufficient factual amplification “to raise a right

to relief above the speculative level.” Id. at 555.

       “So, when the allegations in a complaint, however true, could not raise a claim

of entitlement to relief, ‘this basic deficiency should ... be exposed at the point of

minimum expenditure of time and money by the parties and the court.’” Twombly,

550 U.S. 558 (quoting 5 Wight & Miller § 1216, at 233-34 (quoting in turn Daves v.

Hawaiian Dredging Co., 114 F.Supp. 643, 645 (D. Haw. 1953)) (alteration original).

“[O]nly a complaint that states a plausible claim for relief survives a motion to

dismiss.” Iqbal, 556 U.S. at 679 (citing Twombly, 550 U.S. at 556).

       “In keeping with these principles a court considering a motion to dismiss
       can choose to begin by identifying pleadings that, because they are no
       more than conclusions, are not entitled to the assumption of truth. While
       legal conclusions can provide the framework of a complaint, they must
       be supported by factual allegations. When there are well-pleaded factual
       allegations, a court should assume their veracity and then determine
       whether they plausibly give rise to an entitlement to relief.”

Iqbal, 556 U.S. at 679.

III.   DISCUSSION - THE COUNTY’S MOTION TO DISMISS


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      The County argues that it cannot be held vicariously liable for the tortious acts

of Alabama sheriffs. “Alabama counties are not liable under a theory of respondeat

superior for a sheriff's official acts that are tortious.” McMillian v. Monroe Cty., Ala.,

520 U.S. 781, 789 (1997); Ex parte Sumter County, 953 So. 2d 1235, 1238-39 (Ala.

2006)(“Furthermore, counties cannot be held vicariously liable for the actions or

omissions of the sheriff or his deputies in operating a county jail. See King v. Colbert

County, 620 So. 2d 623, 625 (Ala. 1993), and Parker v. Amerson, 519 So. 2d 442

(Ala.1987).”). The Plaintiff argues in response that “[t]he Counts against Dale County

are for deliberate indifference to medical care. It is simply alleged that by failing to

provide medical resources via staffing and services that [Palintiff] suffered once he

sustained the injuries from the python incident.” (Doc. 26 at 4). However, “any

liability of a county resulting from an incident at a county jail must be based on a

failure of county officials to provide an adequate facility.” Ex parte Sumter County,

953 So. 2d at 1239. Plaintiff’s Complaint makes no factual allegation regarding the

adequacy of the jail facility nor does he allege that any official policy or custom of

the County caused his injuries. “[Plaintiff] has not shown that a county policy or

custom was the ‘moving force’ that caused the alleged constitutional violations in this

case as [he] must to establish the county's § 1983 liability. See Young v. City of




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Augusta, Ga., 59 F.3d 1160, 1171 (11th Cir. 1995).” McElligott v. Foley, 182 F.3d

1248, 1259 (11th Cir. 1999).

      Count Two of Plaintiff’s Complaint seeks relief directly against the County

based on the holding in Monell v. New York City Dept. of Soc. Serv., 436 U.S. 658, 98

S.Ct. 2018, 56 L.Ed.2d 611 (1978). Plaintiff alleges that the County maintained an

“unwritten ‘custom’ or ‘policy’” allowing deputy sheriff’s to torture inmates.

However, Plaintiff’s claim for “Monell Liability” is inapposite to the nature of

Alabama’s county jails:

      “Alabama counties have no duties with respect to the daily operation of
      the county jails and no authority to dictate how the jails are run. Monell,
      which firmly established that local governments could be sued under §
      1983, is ‘a case about responsibility.’ Pembaur, 475 U.S. at 478, 106
      S.Ct. at 1297 (discussing Monell v. New York City Dept. of Soc. Serv.,
      436 U.S. 658, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978)). The County
      cannot be liable for the harms that befall jail inmates due to improper
      operation of the jail or negligent supervision of its inmates because the
      County has no responsibility in that area.”

Turquitt v. Jefferson Cty., Ala., 137 F.3d 1285, 1291 (11th Cir. 1998). See also Tittle

v. Jefferson Cty. Comm'n, 10 F.3d 1535, 1540 (11th Cir. 1994)(“Counties may be

liable for violations of constitutional rights only when such violations occur as a result

of an official county policy.”). The County had no authority to dictate how the jail

was run and had no official policy that resulted in Plaintiff’s alleged injuries.




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      For the foregoing reasons, the County’s motion to dismiss the Plaintiff’s claims

against it are due to be granted on the merits in the County’s favor.

IV.   DISCUSSION - OLSON AND NELSON’S MOTION TO DISMISS

      A. Failure to state a claim for deliberate indifference

      Olson and Nelson argue that “the Complaint is absent any averment that Sheriff

Olson or Administrator Nelson personally participated or even knew of the Plaintiff’s

presence in the jail. Thus, because Sheriff Olson and Administrator Nelson were not

personally involved in the events giving rise to this lawsuit, the claims against them

must be based on supervisory liability.” (Doc. 15 at 6). “In a § 1983 suit or a Bivens

action—where masters do not answer for the torts of their servants—the term

‘supervisory liability’ is a misnomer. Absent vicarious liability, each Government

official, his or her title notwithstanding, is only liable for his or her own misconduct.”

Iqbal, 556 U.S. at 677. Further, “[i]t is well established in [the Eleventh] Circuit that

supervisory officials are not liable under § 1983 for the unconstitutional acts of their

subordinates on the basis of respondeat superior or vicarious liability.” Hartley v.

Parnell, 193 F.3d 1263, 1269 (11th Cir. 1999) (internal quotation marks and citation

omitted).” Cottone v. Jenne, 326 F.3d 1352, 1360 (11th Cir. 2003). Plaintiff fails to

allege any personal participation by Olson or Nelson in the August 11, 2013, “snake

incident.” Therefore, Plaintiff’s constitutional claims brought via § 1983 arising from


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the original “snake incident” against Olson and Nelson based on supervisory liability

are due to be dismissed.2

       B - Qualified Immunity

       As to Plaintiff’s remaining constitutional claim alleging deliberate indifference

to psychiatric medical treatment against Olson and Nelson, they argue that qualified

immunity as government officials bars Plaintiff’s claims brought against them in their

individual capacities. (Doc. 15 at 9). Qualified immunity limits suit against state

officials in their individual capacities. A plaintiff alleging a constitutional violation

under § 1983 can only overcome qualified immunity if “(1) the defendant violated a

constitutional right, and (2) this right was clearly established at the time of the alleged

violation.” Holloman ex rel. Holloman v. Harland, 370 F.3d 1252, 1264 (11th Cir.

2004).

       “[T]his court has acknowledged that the deliberate indifference standard
       also applies to inmates' psychiatric or mental health needs. Greason v.
       Kemp, 891 F.2d 829, 834 (11th Cir.1990); Waldrop v. Evans, 871 F.2d
       1030, 1033 (11th Cir.1989) (citing Rogers v. Evans, 792 F.2d 1052, 1058
       (11th Cir. 1986)). It is thus clear that prisoners are guaranteed the right
       under the eighth amendment to be free from deliberate indifference by
       correctional institutions to their serious physical or psychological
       needs...


       2
       Plaintiff cites a single case, Danley v. Allen, 540 F.3d 1298 (11th Cir. 2008),
for the proposition that Olson and Nelson could, under certain circumstances, be
subject to supervisory liability. However, the holding in Danley on which Plaintiff
would reply was overruled by Iqbal.

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   “Medical treatment violates the eighth amendment only when it is ‘so
   grossly incompetent, inadequate, or excessive as to shock the conscience
   or to be intolerable to fundamental fairness.’ Rogers, 792 F.2d at 1058
   (citation omitted). Mere incidents of negligence or malpractice do not
   rise to the level of constitutional violations. See Estelle [v. Gamble], 429
   U.S. [97,] 106, 97 S.Ct. [285,] 292 [1976)](‘Medical malpractice does
   not become a constitutional violation merely because the victim is a
   prisoner.’); Mandel, 888 F.2d at 787–88 (mere negligence or medical
   malpractice ‘not sufficient’ to constitute deliberate indifference);
   Waldrop, 871 F.2d at 1033 (mere medical malpractice does not
   constitute deliberate indifference). Nor does a simple difference in
   medical opinion between the prison's medical staff and the inmate as to
   the latter's diagnosis or course of treatment support a claim of cruel and
   unusual punishment. See Waldrop, 871 F.2d at 1033 (citing Bowring v.
   Godwin, 551 F.2d 44, 48 (4th Cir.1977)).

          “In institutional level challenges to prison health care such as this
   one, systemic deficiencies can provide the basis for a finding of
   deliberate indifference. Rogers, 792 F.2d at 1058. Deliberate indifference
   to inmates' health needs may be shown, for example, by proving that
   there are ‘such systemic and gross deficiencies in staffing, facilities,
   equipment, or procedures that the inmate population is effectively denied
   access to adequate medical care.’ Ramos v. Lamm, 639 F.2d 559, 575
   (10th Cir. 1980), cert. denied, 450 U.S. 1041, 101 S.Ct. 1759, 68 L.Ed.2d
   239 (1981). Moreover, although incidents of malpractice standing alone
   will not support a claim of eighth amendment violation, ‘[a] series of
   incidents closely related in time may disclose a pattern of conduct
   amounting to deliberate indifference.’ Rogers, 792 F.2d at 1058–59
   (citing Bishop v. Stoneman, 508 F.2d 1224 (2d Cir. 1974)). ‘Repeated
   examples of delayed or denied medical care may indicate a deliberate
   indifference by prison authorities to the suffering that results.’ Id. at
   1059 (citing Todaro v. Ward, 565 F.2d 48, 52 (2d Cir. 1977)); see also
   Ramos, 639 F.2d at 575 (‘In class actions challenging the entire system
   of health care, deliberate indifference to inmates' health needs may be
   shown by proving repeated examples of negligent acts which disclose a
   pattern of conduct by the prison medical staff.’).”



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Harris v. Thigpen, 941 F.2d 1495, 1504-06 (11th Cir. 1991)(footnotes omitted).

      “Although ‘courts hesitate to find an Eighth Amendment violation’ when
      an inmate ‘has received medical care,’ this Court has cautioned that such
      hesitation ‘does not mean ... that the course of ... treatment of a prison
      inmate's medical ... problems can never manifest’ deliberate indifference.
      Waldrop v. Evans, 871 F.2d 1030, 1035 (11th Cir.1989). Carswell v. Bay
      Cnty., 854 F.2d 454, 457 (11th Cir. 1988); see also Harris v. Thigpen,
      941 F.2d 1495, 1505 (11th Cir. 1991) (noting that medical treatment
      rises to the level of a constitutional violation only when it is ‘so grossly
      incompetent, inadequate, or excessive as to shock the conscience or to
      be intolerable to fundamental fairness’ (quotation omitted)).”

Kruse v. Williams, 592 F. App'x 848, 858 (11th Cir. 2014).

      In the instant case, Plaintiff alleged deliberate indifference to his psychological

and medical needs, but fails to provide sufficient factual allegations to support his

claim. “Plaintiff concedes that the facts as currently pled may not be sufficient to

properly support each and every claim currently made” and suggests that he “should

be given the opportunity to engage in some discovery and remedy any shortcomings

in the complaint by amending the pleadings which would be consistent with the

heightened pleadings standard required by Twombly.” (Doc. 27 at 2-3). Moreover, the

Plaintiff admits that his Complaint contains “inconsistencies and mistakes” in

“assigning counts to particular Defendants.” (Id. at 4). Nevertheless, Plaintiff states

that he is “arguing that Defendants Olson and Nelson be held liable for their



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supervisory roles in constitutional violations as well as negligent training, hiring and

supervision that allowed these violations to occur and but for would have prevented

the injuries from being sustained. Furthermore, the Plaintiff alleges that Sheriff Olson

is directly responsible for deliberate indifference to medical care as he makes all

decisions as to how care is apportioned to the inmates.” (Id.). Plaintiff acknowledges

that he received treatment, therapy, and medication, but fails to offer any factual

allegations to support his conclusory claim that the care he was provided was not

“proper.” (Doc. 1 at ¶¶ 37-38). Plaintiff does not allege malpractice, systemic and

gross deficiencies in the provision of care, a series of related incidents or deficiencies,

or that his care was delayed or denied. Rather, Plaintiff acknowledges that he received

treatment, therapy, and medication. His sole factual allegation is that he did not

receive “proper” psychiatric treatment and that the Dale County jail failed to “insist[]

that [Plaintiff] receieve[] more psychiatric care...” (Doc. 1 at ¶ 38). Plaintiff’s claim

of deliberate indifference is conclusory and lacks sufficient factual allegations to

support a plausible claim that his Eighth Amendment rights were violated by Olson

or Nelson. See Waldrop v. Evans, 871 F.2d 1030, 1033 (11th Cir. 1989)(“[A] simple

difference in medical opinion” does not constitute deliberate indifference.). Because

Plaintiff fails to demonstrate a plausible claim of deliberate indifference, Olson and




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Nelson’s motion to dismiss Plaintiff’s claim for deliberate indifference is due to be

granted in their favor.

      C - Immunity as to state law claims

      Olson and Nelson next argue that they are entitled to absolute immunity to

Plaintiff’s state law claims. Olson is the Dale County Sheriff.

      “[A] sheriff is an employee of the state, rather than a county, based on
      the following constitutional provision: ‘The executive department shall
      consist of a governor ... and a sheriff for each county.’ Article V, § 112,
      Alabama Constitution of 1901. As executive officers, sheriffs have
      sovereign immunity under Article I, § 14, of the Alabama Constitution,
      which reads: ‘[T]he State of Alabama shall never be made a defendant
      in any court of law or equity.’ The only exceptions to such immunity are
      for actions brought against a sheriff:

             “‘(1) to compel him to perform his duties, (2) to compel
             him to perform ministerial acts, (3) to enjoin him from
             enforcing unconstitutional laws, (4) to enjoin him from
             acting in bad faith, fraudulently, beyond his authority, or
             under mistaken interpretation of the law, or (5) to seek
             construction of a statute under the Declaratory Judgment
             Act if he is a necessary party for the construction of the
             Statute.’

      “519 So.2d at 443. None of those exceptions applies here.”

Hereford v. Jefferson Cty., 586 So. 2d 209, 210 (Ala. 1991). As in Hereford, none of

the exceptions apply in this case, and Olson is entitled to sovereign immunity from

Plaintiff’s state law claims.




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      Plaintiff’s Complaint names Nelson in his capacity as a “jailer” employed by

the Dale County Sheriff. (Doc. 1 at ¶ 9). In 2009, the Alabama Supreme Court ruled

that jailers employed by a sheriff were not entitled to the same § 14 sovereign

immunity afforded to deputy sheriffs. See Ex parte Shelley, 53 So. 3d 887, 897 (Ala.

2009)(“The doctrine of State immunity under § 14 of the Alabama Constitution,

insofar as it operates to provide absolute immunity to certain State actors with respect

to suits against them in their individual capacity for money damages, is a doctrine that

is applicable to constitutional officers. ... [A] position as a jailer simply does not meet

this requirement.”). Following that ruling, the Alabama legislature amended § 14-6-1,

Ala. Code 1975, to provide as follows:

              “The sheriff has the legal custody and charge of the jail in his or
       her county and all prisoners committed thereto, except in cases otherwise
       provided by law. The sheriff may employ persons to carry out his or her
       duty to operate the jail and supervise the inmates housed therein for
       whose acts he or she is civilly responsible. Persons so employed by the
       sheriff shall be acting for and under the direction and supervision of the
       sheriff and shall be entitled to the same immunities and legal protections
       granted to the sheriff under the general laws and the Constitution of
       Alabama of 1901, as long as such persons are acting within the line and
       scope of their duties and are acting in compliance with the law.”

In this case, Plaintiff's Complaint alleges that Nelson was acting as a jailer under

Olson's supervision and was also acting in the line and scope of his employment at all




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times relevant to Plaintiff’s claims. Based upon a straightforward application of §

14–6–1, Nelson is absolutely immune from Plaintiff's state law claims.

      For the foregoing reasons, Olson and Nelson’s motion to dismiss Plaintiff’s

state law claims against them is due to be granted in their favor.

V.    CONCLUSION AND RECOMMENDATION

      Accordingly, for the reasons as stated, it is the RECOMMENDATION of the

Magistrate Judge that Defendant Dale County’s motion to dismiss (Doc. 12) is due to

be granted in Dale County’s favor. It is the further RECOMMENDATION of the

Magistrate Judge that Defendants Olson and Nelson’s motion to dismiss (Doc. 13) is

due to be GRANTED in their favor.

      It is ORDERED that the parties shall file any objections to the said

Recommendation on or before March 4, 2016. Any objections filed must specifically

identify the findings in the Magistrate Judge’s Recommendation to which the party

objects. Frivolous, conclusive or general objections will not be considered by the

District Court. The parties are advised that this Recommendation is not a final order

of the court and, therefore, it is not appealable.

      Failure to file written objections to the proposed findings and recommendations

in the Magistrate Judge’s report shall bar the party from a de novo determination by

the District Court of issues covered in the report and shall bar the party from attacking

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on appeal factual findings in the report accepted or adopted by the District Court

except upon grounds of plain error or manifest injustice. Nettles v. Wainwright, 677

F.2d 404 (5th Cir. 1982). See Stein v. Reynolds Securities, Inc., 667 F.2d 33 (11th Cir.

1982).

      DONE and ORDERED this 19th day of February, 2016

                                                      /s/ Paul W. Greene
                                                      United States Magistrate Judge




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